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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


  JUDITH A. SNYDER,
  And THOMAS SNYDER               :                    C.A. NO. 09 CV 00963 (GMS)
              v.                  :
                                  :
  TERRENCE M. REESE, FALCON       :                    JURY TRIAL DEMANDED
  TRANSPORT CO., G.D. LEASING OF  :
  INDIANA, INC. and COMPREHENSIVE :
  LOGISTICS, CO.                  :

                              STIPULATION OF DISMISSAL


              IT IS HEREBY STIPULATED and AGREED by and between the parties, that
  the aforesaid action against defendants be dismissed with prejudice, with costs to be
  assessed against each party.




  /s/ Shakuntla L. Bhaya                                      /s/ Delia A. Clark
  ________________________                             _____________________
  Shakuntla L. Bhaya, Esquire                          Delia A. Clark, Esquire
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